                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

       Plaintiff,

     v.                                                  Case No. 19-CR-198

LATONYA WEBSTER,

      Defendant.


                          REPORT AND RECOMMENDATION


       The United States of America and the defendant, Latonya Webster, appeared before

me pursuant to Federal Rule of Criminal Procedure 11. Webster entered a plea of guilty to

Count Two of the Indictment.

       After cautioning and examining Webster under oath concerning each of the subjects

mentioned in Rule 11, I determined that the guilty plea was knowing and voluntary, and that

the offense charged is supported by an independent factual basis containing each of the

essential elements of the offense.

       NOW, THEREFORE, IT IS RECOMMENDED that Webster’s plea of guilty be

accepted; that a presentence investigation and report be prepared; and that Webster be

adjudicated guilty and have sentence imposed accordingly.

       Your attention is directed to General L.R. 72(c), 28 U.S.C. § 636(b)(1)(B) and Federal

Rules of Criminal Procedure 59(b), or Federal Rules of Civil Procedure 72(b) if applicable,

whereby written objections to any recommendation or order herein, or part thereof, may be

filed within fourteen days of the date of service of this recommendation or order. Objections




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are to be filed in accordance with the Eastern District of Wisconsin’s electronic case filing

procedures. Failure to file a timely objection with the district court shall result in a waiver of

a party’s right to appeal. If no response or reply will be filed, please notify the Court in writing.



       Dated at Milwaukee, Wisconsin this 6th day of October, 2021.



                                                      BY THE COURT



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